Case 7:22-cv-00151-DC Document 42-1 Filed 01/19/24 Page 1 of 15




                 Exhibit 1
Case 7:22-cv-00151-DC Document 42-1 Filed 01/19/24 Page 2 of 15
Case 7:22-cv-00151-DC Document 42-1 Filed 01/19/24 Page 3 of 15
Case 7:22-cv-00151-DC Document 42-1 Filed 01/19/24 Page 4 of 15
Case 7:22-cv-00151-DC Document 42-1 Filed 01/19/24 Page 5 of 15




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Case 7:22-cv-00151-DC Document 42-1 Filed 01/19/24 Page 6 of 15




        Exhibit A
                                                                                               Time Records for Anderson Alexander, PLLC
                                                                  Date      Time-Keeper                           Task                                               Time    Rate          Fee
                                                                  3/17/22   Carter Hastings   Initial Client Intake                                                  1.20   $ 450.00   $    540.00
Case 7:22-cv-00151-DC Document 42-1 Filed 01/19/24 Page 7 of 15




                                                                  3/19/22   Carter Hastings   Investigation
                                                                                              Research       of defendant
                                                                                                         breach  of contractcompany,
                                                                                                                              in Texas its
                                                                                                                                        forlitigation history,wage
                                                                                                                                             similar unpaid          1.50   $ 450.00   $    675.00
                                                                                              cases, inclusion in FLSA, and whether atty fees are recoverable
                                                                            Carter Hastings                                                                                 $ 450.00   $    990.00
                                                                  3/19/22                     and if they are proportional to amount recovered                       2.20
                                                                            Carter Hastings   draft case memo with case facts, legal analysis, and defendant                $ 450.00   $    630.00
                                                                  3/19/22                     information and submit to WCA                                          1.40
                                                                  3/19/22   Clif Alexander    Review case memo from CTH                                              1.00   $ 650.00   $    650.00
                                                                  3/20/22   Carter Hastings   Meeting with WCA over Case Memo and whether to take case.              0.60   $ 450.00   $    270.00
                                                                  3/20/22   Clif Alexander    Meeting with CTH over intake notes and case memo                       0.60   $ 650.00   $    390.00
                                                                                              Call with Client to take case, explain expectations for the case,
                                                                            Carter Hastings                                                                                 $ 450.00   $    450.00
                                                                  3/21/22                     additional follow up on facts and available documents                  1.00
                                                                  4/22/22   Carter Hastings   Begin drafting original complaint (ECF No. 1)                          1.80   $ 450.00   $    810.00
                                                                  5/3/22    Carter Hastings   Continue drafting complaint (ECF No. 1)                                0.60   $ 450.00   $    270.00
                                                                            Carter Hastings   Call with client for potential joint employer claim, gather facts             $ 450.00   $    225.00
                                                                  5/5/22                      which would support joint employer                                     0.50
                                                                  5/5/22    Carter Hastings   Legal research for potential joint employer claim.                     1.00   $ 450.00   $    450.00
                                                                  5/10/22   Carter Hastings   Investigate company owner for joint employer claim.                    1.40   $ 450.00   $    630.00
                                                                                              Discuss joint employer issue and whether to plead claim with
                                                                            Carter Hastings                                                                                 $ 450.00   $    225.00
                                                                  5/11/22                     WCA                                                                    0.50
                                                                  5/11/22   Clif Alexander    Discuss joint employer issue with CTH                                  0.50   $ 650.00   $    325.00
                                                                            Carter Hastings   Amend original complaint, add joint employer claim (ECF No.                   $ 450.00   $    540.00
                                                                  5/25/22                     1)                                                                     1.20
                                                                  6/6/22    Carter Hastings   Review and edit original complaint (ECF No. 1)                         0.75   $ 450.00   $    337.50
                                                                  6/6/22    Clif Alexander    Review and edit complaint                                              1.00   $ 650.00   $    650.00
                                                                            Carter Hastings                                                                                 $ 450.00   $    495.00
                                                                  6/28/22                     Review edits by others to complaint, discuss complaint with client     1.10
                                                                  6/28/22   Cliff Gordon      Review and edit draft of original complaint (ECF No. 1)                1.50   $ 650.00   $    975.00
                                                                  6/29/22   Carter Hastings   Final review of original complaint prior to filing                     0.75   $ 450.00   $    337.50
                                                                             Carter Hastings   Review and Send multiple emails with Opposing Counsel re:                  $ 450.00   $    90.00
                                                                  7/13/22                      setting up time to talk about case                                  0.20
                                                                                               Review and Send multiple emails with Opposing Counsel re:
                                                                             Carter Hastings                                                                              $ 450.00   $    90.00
                                                                  7/15/22                      setting up time to talk about case                                  0.20
Case 7:22-cv-00151-DC Document 42-1 Filed 01/19/24 Page 8 of 15




                                                                                               Telephonic Conference with Opposing Counsel re: Settlement,
                                                                             Carter Hastings                                                                              $ 450.00   $   225.00
                                                                   8/1/22                      Case Status                                                         0.50
                                                                             Carter Hastings   Discussion with Paralegal Bianca Mancilla re: discovery and                $ 450.00   $   135.00
                                                                   8/9/22                      information needed from client for follow up call                   0.30
                                                                             Carter Hastings                                                                              $ 450.00   $   337.50
                                                                  8/9/22                       Call with Client re: information on documents he provided to us.    0.75
                                                                  8/10/22    Carter Hastings   Review Defendants' Answer (ECF No. 4)                               0.75   $ 450.00   $   337.50
                                                                  8/12/22    Carter Hastings   Reviewed Documents provided by client                               2.50   $ 450.00   $ 1,125.00
                                                                  8/13/22    Carter Hastings   Compared client invoices and payroll reccieved.                     3.20   $ 450.00   $ 1,440.00
                                                                  8/14/22    Carter Hastings   Call with Client re: on case status                                 0.50   $ 450.00   $   225.00
                                                                  8/17/22    Carter Hastings   Review Court Advisory (ECF No. 5)                                   0.20   $ 450.00   $    90.00
                                                                  8/24/22    Carter Hastings   Print and sign non consent to Magistrate Judge                      0.30   $ 450.00   $   135.00
                                                                  9/27/22    Carter Hastings   Read Order re: Scheduling recommendations (ECF No. 8)               0.50   $ 450.00   $   225.00
                                                                                               Read Judge Count's specific rules for case management, MSJ,
                                                                             Carter Hastings                                                                              $ 450.00   $   225.00
                                                                   9/27/22                     Discovery                                                           0.50
                                                                   9/28/22   Carter Hastings   Draft Rule 26(f) Report                                             1.50   $ 450.00   $   675.00
                                                                  10/20/22   Carter Hastings   Draft damage model                                                  3.10   $ 450.00   $ 1,395.00
                                                                  10/23/22   Carter Hastings   Draft demand                                                        2.80   $ 450.00   $ 1,260.00
                                                                  10/23/22   Carter Hastings   Legal Research in Support of Demand                                 3.50   $ 450.00   $ 1,575.00
                                                                             Carter Hastings   Call with client re: discuss damages, questions on documents sent          $ 450.00   $   180.00
                                                                  10/23/22                     to us, general update on case                                       0.40
                                                                  10/26/22   Carter Hastings   Draft Motion to Stay (ECF No. 9)                                    0.50   $ 450.00   $   225.00
                                                                  10/26/22   Carter Hastings   Read WCA edits to demand, finalize demand                           0.40   $ 450.00   $   180.00
                                                                  10/26/22   Carter Hastings   Call with Client re: review demand                                  0.50   $ 450.00   $   225.00
                                                                             Carter Hastings   Email to Opposing Counsel: re: Motion to Stay draft (ECF No.               $ 450.00   $    90.00
                                                                  10/26/22                     9)                                                                  0.20
                                                                  10/26/22   Clif Alexander    Review and edit settlement demand                                   1.00   $ 650.00   $   650.00
                                                                             Carter Hastings   Sent emails to Opposing Counsel and read responses re: Motion          $ 450.00   $    90.00
                                                                  10/27/22                     to Stay                                                         0.20
                                                                                               Telephonic Conference with Opposing Counsel re: Motion to
                                                                             Carter Hastings                                                                          $ 450.00   $   225.00
                                                                  10/27/22                     Stay                                                            0.50
Case 7:22-cv-00151-DC Document 42-1 Filed 01/19/24 Page 9 of 15




                                                                  11/21/22   Carter Hastings   Email to Opposing Counsel re: settement, Rule 26(f) report      0.20   $ 450.00   $    90.00
                                                                                               Telephonic Conference with Opposing Counsel re: Settlement,
                                                                             Carter Hastings                                                                          $ 450.00   $   180.00
                                                                  11/28/22                     Rule 26(f) report                                               0.40
                                                                  11/28/22   Carter Hastings   Draft and file Notice to Court (ECF No. 10)                     0.30   $ 450.00   $   135.00
                                                                  11/28/22   Carter Hastings   Emailed Opposing Counsel re: Rule 26(f) report                  0.20   $ 450.00   $    90.00
                                                                  11/29/22   Carter Hastings   Call with client re: Case Status                                0.40   $ 450.00   $   180.00
                                                                             Carter Hastings   Emailed Opposing Counsel re: follow up on missing settlement           $ 450.00   $    45.00
                                                                  12/19/22                     demand response                                                 0.10
                                                                   1/2/23    Carter Hastings   Call with client re: Case Status                                0.30   $ 450.00   $   135.00
                                                                                               Emailed Opposing Counsel re: follow up on missing settlement
                                                                             Carter Hastings                                                                          $ 450.00   $    45.00
                                                                   1/4/23                      demand response                                                 0.10
                                                                             Carter Hastings   Emailed Opposing Counsel re: follow up on missing settlement           $ 450.00   $    45.00
                                                                  1/26/23                      demand response                                                 0.10
                                                                  2/17/23    Carter Hastings   Call with Client re: case status and discovery inquiry          0.70   $ 450.00   $   315.00
                                                                  2/17/23    Carter Hastings   Draft Discovery Requests                                        2.10   $ 450.00   $   945.00
                                                                  2/19/23    Carter Hastings   Continue drafting and editing discovery requests                1.80   $ 450.00   $   810.00
                                                                  2/20/23    Carter Hastings   Emailed Opposing Counsel re: Sent Discovery Requests.           0.10   $ 450.00   $    45.00
                                                                  2/20/23    Carter Hastings   Read CG's edits to discovery and finalized discovery requests   0.50   $ 450.00   $   225.00
                                                                  3/24/23    Carter Hastings   Email Opposing Counsel re: missing discovery responses          0.10   $ 450.00   $    45.00
                                                                  3/24/23    Carter Hastings   discussion with WCA and CG on case status.                      0.50   $ 450.00   $   225.00
                                                                  3/24/23    Clif Alexander    Meet with CTH and ACG on case status                            0.50   $ 650.00   $   325.00
                                                                             Carter Hastings   Sent and Received emails with Opposing Counsel re: missing             $ 450.00   $    90.00
                                                                  3/27/23                      discovery responses, setting up time for phone call             0.20
                                                                                               Emailed Opposing Counsel re: missing discovery responses and
                                                                             Carter Hastings                                                                          $ 450.00   $    45.00
                                                                  3/28/23                      attempt to set up phone call                                    0.10
                                                                                               Emailed Opposing Counsel re: missing discovery responses and
                                                                             Carter Hastings   attempt to set up phone call, missing response to settlement              $ 450.00   $    90.00
                                                                   3/31/23                     demand, Received and Read Email from Opposing Counsel              0.20
Case 7:22-cv-00151-DC Document 42-1 Filed 01/19/24 Page 10 of 15




                                                                   4/3/23    Carter Hastings   Called Opposing Counsel re: Missing discovery responses            0.10   $ 450.00   $    45.00
                                                                                               Sent and Received emails with Opposing Counsel re: missing
                                                                             Carter Hastings                                                                             $ 450.00   $   135.00
                                                                   4/4/23                      discovery responses, setting up time for phone call                0.30
                                                                                               Called Opposing Counsel re: Missing discovery responses,
                                                                             Carter Hastings                                                                             $ 450.00   $    45.00
                                                                   4/4/23                      Missing Demand Response                                            0.10
                                                                   4/5/23    Carter Hastings   Call with client re: Case Status                                   0.50   $ 450.00   $   225.00
                                                                                               Sent and Received emails with Opposing Counsel re: missing
                                                                             Carter Hastings                                                                             $ 450.00   $    90.00
                                                                   4/11/23                     discovery responses, setting up time for phone call                0.20
                                                                   4/12/23   Carter Hastings   email OC                                                           0.10   $ 450.00   $    45.00
                                                                             Carter Hastings   Discussion with CG on missing discovery and motion to compel              $ 450.00   $   180.00
                                                                   4/14/23                     (ECF No. 14)                                                       0.40
                                                                                               Emailed Opposing Counsel re: missing discovery responses and
                                                                             Carter Hastings                                                                             $ 450.00   $    45.00
                                                                   4/14/23                     attempt to set up phone call                                       0.10
                                                                                               Telephonic Conference with Opposing Counsel re: missing
                                                                             Carter Hastings                                                                             $ 450.00   $   180.00
                                                                   4/14/23                     discovery, mediation                                               0.40
                                                                   4/14/23   Carter Hastings   Review draft motion to compel (ECF No. 14).                        0.30   $ 450.00   $   135.00
                                                                   4/14/23   Carter Hastings   Read email from Opposing Counsel re: Mediation                     0.10   $ 450.00   $    45.00
                                                                   4/14/23   Carter Hastings   Discuss with WCA and CG re: case status, mediation                 0.50   $ 450.00   $   225.00
                                                                             Carter Hastings   Sent emails to Opposing Counsel and read responses re: Potential          $ 450.00   $    90.00
                                                                   4/14/23                     Mediators                                                          0.20
                                                                   4/14/23   Clif Alexander    Meet with CTH and ACG on case status                               0.50   $ 650.00   $   325.00
                                                                   4/14/23   Cliff Gordon      Research and prepare motion to compel discovery (ECF No. 14)        6.5   $ 650.00   $ 4,225.00
                                                                             Carter Hastings   Call with Mediator, and emailed available dates to Opposing               $ 450.00   $   225.00
                                                                   4/17/23                     Counsel                                                            0.50
                                                                             Carter Hastings   Sent emails to Opposing Counsel and read responses re: Potential          $ 450.00   $   135.00
                                                                   4/18/23                     Mediators and available dates                                      0.30
                                                                   4/25/23   Carter Hastings   Email to Opposing Counsel: re: potential mediators                 0.10   $ 450.00   $    45.00
                                                                   4/26/23   Carter Hastings   Email to Opposing Counsel: re: potential mediators                 0.10   $ 450.00   $    45.00
                                                                   4/27/23   Carter Hastings   final review of motion to compel prior to filing (ECF No. 14)      0.20   $ 450.00   $    90.00
                                                                   4/28/23   Carter Hastings   read email from Oppsing Counsel re: mediators                      0.10   $ 450.00   $    45.00
                                                                                               Email to mediator re: available dates for mediation; Read
                                                                             Carter Hastings                                                                             $ 450.00   $    90.00
Case 7:22-cv-00151-DC Document 42-1 Filed 01/19/24 Page 11 of 15




                                                                   4/28/23                     mediator response re: available dates                              0.20
                                                                   4/28/23   Carter Hastings   Email to Opposing Counsel re: available mediation dates            0.10   $ 450.00   $    45.00
                                                                   5/11/23   Carter Hastings   Email to Opposing Counsel re: mediation dates follow up            0.10   $ 450.00   $    45.00
                                                                             Carter Hastings   Sent and Received emails with Opposing Counsel re: mediation              $ 450.00   $    90.00
                                                                   5/16/23                     dates                                                              0.20
                                                                                               Draft motion to stay (ECF No. 15) and send to Opposing
                                                                             Carter Hastings                                                                             $ 450.00   $   225.00
                                                                   5/17/23                     Counsel                                                            0.50
                                                                   5/22/23   Carter Hastings   Email to Opposing Counsel re: motion to stay follow up             0.10   $ 450.00   $    45.00
                                                                   5/24/23   Carter Hastings   Email to Opposing Counsel re: motion to stay follow up             0.10   $ 450.00   $    45.00
                                                                                               Read email from Opposing Counsel re: Motion to stay (ECF No.
                                                                             Carter Hastings                                                                             $ 450.00   $    45.00
                                                                   5/24/23                     15)                                                                0.10
                                                                   5/25/23   Carter Hastings   Call with Client re: Case status                                   0.50   $ 450.00   $   225.00
                                                                   6/10/23   Carter Hastings   Draft mediation brief and associate legal research                 4.50   $ 450.00   $ 2,025.00
                                                                   6/11/23   Carter Hastings   Draft mediation brief exhibits                                     0.80   $ 450.00   $   360.00
                                                                   6/15/23   Carter Hastings   Read edits to mediation brief and finalize brief                   0.75   $ 450.00   $   337.50
                                                                   6/15/23   Clif Alexander    Review and edit mediation brief                                    1.00   $ 650.00   $   650.00
                                                                   6/16/23   Carter Hastings   Send mediator mediation brief and exhibits                         0.20   $ 450.00   $    90.00
                                                                             Carter Hastings   Review evidence, coinduct additional legal research, and prepare          $ 450.00   $ 1,125.00
                                                                   6/18/23                     for mediation                                                      2.50
                                                                   6/18/23   Carter Hastings   Call with Client re case status and mediation                      0.50   $ 450.00   $   225.00
                                                                   6/19/23   Carter Hastings   Call with client re: case status and mediation                     0.40   $ 450.00   $   180.00
                                                                   6/19/23   Carter Hastings   Attend mediation                                                   5.00   $ 450.00   $ 2,250.00
                                                                             Carter Hastings   Send emails to and read responses from Opposing Counsel re:               $ 450.00   $    90.00
                                                                   6/19/23                     settlement                                                         0.20
                                                                                               Telephonic Conference with Opposing Counsel re: settlement,
                                                                             Carter Hastings                                                                             $ 450.00   $   180.00
                                                                   6/19/23                     mediator's proposal                                                0.40
                                                                   6/20/23   Carter Hastings   Draft Joint Status Report (ECF No. 17)                             0.40   $ 450.00   $   180.00
                                                                             Carter Hastings                                                                           $ 450.00   $    45.00
                                                                   6/20/23                     Emailed Joint Status Report (ECF No. 17) to Opposing Counsel    0.10
                                                                                               Planning meeting with WCA and CG on remaining deadlines and
                                                                             Carter Hastings                                                                           $ 450.00   $   180.00
Case 7:22-cv-00151-DC Document 42-1 Filed 01/19/24 Page 12 of 15




                                                                   6/20/23                     trial                                                           0.40
                                                                   6/20/23   Clif Alexander    Meet with CTH and ACG on case status                            0.40    $ 650.00   $   260.00
                                                                             Carter Hastings                                                                           $ 450.00   $   225.00
                                                                   6/25/23                     Draft motion to extend scheduling order deadlines (ECF No. 18) 0.50
                                                                                               Email Opposing Counsel re: settlement, motion to extend
                                                                             Carter Hastings                                                                           $ 450.00   $    45.00
                                                                   6/26/23                     scheduling order deadlines                                       0.10
                                                                                               Read Court Order Granting Motion to Compel (ECF No. 19),
                                                                             Carter Hastings                                                                           $ 450.00   $   135.00
                                                                   6/27/23                     and to Lift Stay (ECF No. 20)                                    0.30
                                                                                               Telephonic Conference with Opposing Counsel re: settlement,
                                                                             Carter Hastings                                                                           $ 450.00   $   135.00
                                                                   6/29/23                     Order to Compel                                                  0.30
                                                                             Carter Hastings   Emailed copy of Order granting Motion to Compel (ECF No.                $ 450.00   $    45.00
                                                                   6/29/23                     19) to opposing counsel.                                         0.10
                                                                   7/10/23   Carter Hastings   Call with client re: Case Status                                 0.60   $ 450.00   $   270.00
                                                                                               Draft facts section for Motion for Summary Judgment and
                                                                             Carter Hastings                                                                           $ 450.00   $ 1,035.00
                                                                   7/11/23                     discuss Motion for Summary Judgement (ECF No. 22) with CG        2.30
                                                                   7/18/23   Cliff Gordon      Research and prepare motion for summary judgment (ECF No. 22) 7.5       $ 650.00   $ 4,875.00
                                                                   7/19/23   Cliff Gordon      Prepare Pruitt’s declaration (ECF No. 22-1) for summary judgment 2.3    $ 650.00   $ 1,495.00
                                                                   7/19/23   Cliff Gordon      Prepare Hasting’s declaration (ECF No. 22-2) for summary judgment0.9    $ 650.00   $   585.00
                                                                   7/19/23   Cliff Gordon      Continued preparation of motion for summary judgment (ECF No. 22) 2.5   $ 650.00   $ 1,625.00
                                                                             Carter Hastings   Review and edit Declarations in support of MSJ (ECF Nos.                $ 450.00   $   225.00
                                                                   7/20/23                     22–1, 22–2)                                                      0.50
                                                                             Carter Hastings   Call with client re: declaration in support of MSJ (ECF No.             $ 450.00   $   337.50
                                                                   7/20/23                     22–1)                                                            0.75
                                                                   7/20/23   Carter Hastings   Final edits to MSJ (ECF No. 22)                                  0.50   $ 450.00   $   225.00
                                                                   7/20/23   Cliff Gordon      Continued preparation of motion for summary judgment (ECF No. 22) 3.5   $ 650.00   $ 2,275.00
                                                                   8/15/23   Carter Hastings   Call with Client: re Case Status                                 0.50   $ 450.00   $   225.00
                                                                   9/19/23   Carter Hastings   Call with Client re: Case Status                                 0.40   $ 450.00   $   180.00
                                                                   9/20/23   Carter Hastings   Meeting with WCA and CG on status and trial preparation          0.50   $ 450.00   $   225.00
                                                                    9/20/23   Clif Alexander    Meet with CTH and ACG on case status                                0.50   $ 650.00   $   325.00
                                                                    9/21/23   Carter Hastings   Draft Notice of compeltion of briefing (ECF No. 23)                 0.20   $ 450.00   $    90.00
                                                                    9/21/23   Carter Hastings   Draft request for Status Conference (ECF No. 24)                    0.20   $ 450.00   $    90.00
Case 7:22-cv-00151-DC Document 42-1 Filed 01/19/24 Page 13 of 15




                                                                    10/5/23   Carter Hastings   Email mediator re: missing ADR report                               0.20   $ 450.00   $    90.00
                                                                   10/12/23   Carter Hastings   Read Court Order Granting in part MSJ (ECF No. 26)                  0.50   $ 450.00   $   225.00
                                                                   10/12/23   Carter Hastings   Left client VM re: Case status                                      0.10   $ 450.00   $    45.00
                                                                   10/12/23   Carter Hastings   Call with Client re: case status                                    0.40   $ 450.00   $   180.00
                                                                   10/13/23   Carter Hastings   Research and prepare supplement to MSJ (ECF No. 27)                 4.50   $ 450.00   $ 2,025.00
                                                                   10/15/23   Carter Hastings   Researched and edited supplement to MSJ (ECF No. 27)                1.30   $ 450.00   $   585.00
                                                                   10/19/23   Carter Hastings   Final review of MSJ Supplement (ECF No. 27)                         1.10   $ 450.00   $   495.00
                                                                   10/19/23   Cliff Gordon      Review and edit supplement (ECF No. 27) to summary judgment          3.5   $ 650.00   $ 2,275.00
                                                                                                Emailed Opposing Counsel, Read and Responded to email from
                                                                              Carter Hastings                                                                              $ 450.00   $    90.00
                                                                   10/25/23                     Court re: Pretrial documents                                        0.20
                                                                   10/26/23   Carter Hastings   Analyze new NLRB joint employer rule                                1.50   $ 450.00   $   675.00
                                                                   10/26/23   Carter Hastings   discuss case status and trial with WCA                              0.80   $ 450.00   $   360.00
                                                                              Carter Hastings   Send emails to and read responses from Opposing Counsel re:                $ 450.00   $    90.00
                                                                   10/26/23                     settlement, Trial Documents                                         0.20
                                                                   10/26/23   Carter Hastings   Called with Opposing Counsel re: Settlement, Trial Documents        0.10   $ 450.00   $    45.00
                                                                   10/26/23   Carter Hastings   Draft Joint Stipulated Facts                                        1.00   $ 450.00   $   450.00
                                                                   10/26/23   Carter Hastings   Call with Client re: Case Status                                    0.70   $ 450.00   $   315.00
                                                                   10/26/23   Carter Hastings   Read Defendants' response to MSJ Supplement (ECF No. 28)            1.00   $ 450.00   $   450.00
                                                                   10/26/23   Carter Hastings   Draft Plaintiff's Exhibit List (ECF No. 39)                         1.00   $ 450.00   $   450.00
                                                                   10/26/23   Carter Hastings   Draft Plaintiff's Voir Dire (ECF No. 37)                            2.50   $ 450.00   $ 1,125.00
                                                                              Carter Hastings   Draft plaintiff's proposed jury instruction and verdict form (ECF          $ 450.00   $ 1,462.50
                                                                   10/26/23                     No. 36)                                                             3.25
                                                                   10/26/23   Carter Hastings   draft Plaintiff's statement of facts (ECF No. 35)                   0.75   $ 450.00   $   337.50
                                                                   10/26/23   Carter Hastings   draft Plaintiff's Witness list (ECF No. 38)                         0.60   $ 450.00   $   270.00
                                                                   10/26/23   Clif Alexander    Discuss case status and trial with CTH                              0.80   $ 650.00   $   520.00
                                                                   10/26/23   Clif Alexander    Review and edit all pre-trial documents                             3.20   $ 650.00   $ 2,080.00
                                                                   10/27/23   Lauren Braddy     Begin review of CTH Draft pre-trial filings and edit same           0.60   $ 550.00   $   330.00
                                                                   10/27/23   Carter Hastings   Meeting with WCA re: Trial and Settlement                           0.40   $ 450.00   $   180.00
                                                                   10/27/23   Carter Hastings   Call with Client re: Settlement                                    0.50   $ 450.00   $   225.00
                                                                   10/27/23   Carter Hastings   Telephonic Conference with Opposing Counsel re: Settlement         0.40   $ 450.00   $   180.00
                                                                   10/27/23   Carter Hastings   Email draft of joint stipulated facts to Opposing Counsel          0.10   $ 450.00   $    45.00
Case 7:22-cv-00151-DC Document 42-1 Filed 01/19/24 Page 14 of 15




                                                                   10/27/23   Carter Hastings   Calls with Opposing Counsel Re: Settlement                         0.50   $ 450.00   $   225.00
                                                                   10/27/23   Carter Hastings   Call with Client re: Settlement                                    0.50   $ 450.00   $   225.00
                                                                   10/27/23   Carter Hastings   Draft Notice of Settlement                                         0.20   $ 450.00   $    90.00
                                                                   10/27/23   Carter Hastings   Email Opposing Counsel re: Settlement                              0.10   $ 450.00   $    45.00
                                                                   10/27/23   Carter Hastings   Edit to Plaintiff's Exhibit List (ECF No. 39)                      0.20   $ 450.00   $    90.00
                                                                   10/27/23   Carter Hastings   Edit Plaintiff's voir dire questions (ECF No. 37)                  0.50   $ 450.00   $   225.00
                                                                                                Edit plaintiff's proposed jury instruction and verdict form (ECF
                                                                              Carter Hastings                                                                             $ 450.00   $   270.00
                                                                   10/27/23                     No. 36)                                                            0.60
                                                                   10/27/23   Carter Hastings   Edit plaintiff's statement of facts (ECF No. 35)                   0.20   $ 450.00   $    90.00
                                                                   10/27/23   Clif Alexander    Meet with CTH on case status and trial                             0.40   $ 650.00   $   260.00
                                                                    11/4/23   Carter Hastings   Call with Client re: Settlement                                    0.50   $ 450.00   $   225.00
                                                                    11/4/23   Carter Hastings   Draft Settlement Agreement                                         3.50   $ 450.00   $ 1,575.00
                                                                    11/5/23   Lauren Braddy     Review Draft SA prepared by CTH                                    0.70   $ 550.00   $   385.00
                                                                    11/5/23   Carter Hastings   Edit settlement agreement                                          0.60   $ 450.00   $   270.00
                                                                    11/6/23   Carter Hastings   Email Opposing Counsel draft settlement agreement                  0.10   $ 450.00   $    45.00
                                                                    11/9/23   Carter Hastings   Email Opposing Counsel re: follow up on settlement agreement       0.10   $ 450.00   $    45.00
                                                                   11/14/23   Carter Hastings   Email Opposing Counsel re: follow up on settlement agreement       0.10   $ 450.00   $    45.00
                                                                   11/20/23   Carter Hastings   Email Opposing Counsel re: follow up on settlement agreement       0.10   $ 450.00   $    45.00
                                                                   11/20/23   Carter Hastings   read email from Opposing Counsel re: settlement agreement          0.20   $ 450.00   $    90.00
                                                                              Carter Hastings   Review Opposing Counsel's edits to Settlement Agreement and               $ 450.00   $   180.00
                                                                   11/21/23                     discuss with LB                                                    0.40
                                                                   11/21/23   Lauren Braddy     Review edits to SA and confer with CTH regarding the same.         0.30   $ 550.00   $   165.00
                                                                              Carter Hastings   Email Opposing Counsel re: Settlement Agreement terms,                    $ 450.00   $    45.00
                                                                   11/21/23                     counter proposal                                                   0.10
                                                                    12/4/23   Carter Hastings   Email Opposing Counsel re: follow up on settlement agreement       0.10   $ 450.00   $    45.00
                                                                    12/4/23   Carter Hastings   read email from Opposing Counsel re: settlement agreement          0.10   $ 450.00   $    45.00
                                                                                                Email Opposing Counsel re: follow up on settlement agreement
                                                                              Carter Hastings                                                                             $ 450.00   $    45.00
                                                                   12/8/23                      counter proposal terms                                             0.10
                                                                              Carter Hastings   Called Opposing Counsel re: follow up on Settlement                         $ 450.00   $     45.00
                                                                   12/12/23                     Agreement, left voicemail                                          0.10
                                                                                                Email Opposing Counsel re: follow up on settlement agreement
                                                                              Carter Hastings                                                                               $ 450.00   $     45.00
Case 7:22-cv-00151-DC Document 42-1 Filed 01/19/24 Page 15 of 15




                                                                   12/12/23                     counter proposal terms                                             0.10
                                                                   12/14/23   Carter Hastings   Call with Client: re Case Status                                   0.50     $ 450.00   $   225.00
                                                                   12/14/23   Carter Hastings   Discussion with AWA, WCA re: case status and settlement            0.50     $ 450.00   $   225.00
                                                                              Carter Hastings   Called Opposing Counsel re: follow up on Settlement                         $ 450.00   $     45.00
                                                                   12/14/23                     Agreement, left voicemail                                          0.10
                                                                                                Email Opposing Counsel re: follow up on settlement agreement
                                                                              Carter Hastings                                                                               $ 450.00   $     45.00
                                                                   12/14/23                     counter proposal terms                                             0.10
                                                                   12/14/23   Clif Alexander    Discussion with AWA, CTH on case status                            0.50     $ 650.00   $   325.00
                                                                   12/27/23   Carter Hastings   Draft request for status conference (ECF No. 33)                   0.30     $ 450.00   $   135.00
                                                                   12/27/23   Carter Hastings   Read Court order denying status conference (ECF No. 34)            0.20     $ 450.00   $    90.00
                                                                   12/27/23   Carter Hastings   Called client re: Case status, left voicemail                      0.10     $ 450.00   $    45.00
                                                                   12/28/23   Carter Hastings   Call with Client re: Case status                                   0.50     $ 450.00   $   225.00
                                                                                                Emailed Opposing Counsel re: follow up on draft joint stipulated
                                                                              Carter Hastings                                                                               $ 450.00   $     90.00
                                                                    1/2/24                      facts                                                              0.20
                                                                    1/2/24    Carter Hastings   Edits and final review of pre-trial documents before filing        1.10     $ 450.00   $   495.00
                                                                    1/2/24    Carter Hastings   Call with Client re: Case status                                   0.75     $ 450.00   $   337.50
                                                                    1/2/24    Cliff Gordon      Review and edit plaintiff’s pretrial documents (ECF Nos. 36-39)      3      $ 650.00   $ 1,950.00
                                                                              Carter Hastings   Read Court Judgment (ECF Nos. 40, 41), emailed copies to                    $ 450.00   $   495.00
                                                                    1/5/24                      Client, Call with Client                                           1.10
                                                                    1/5/24    Clif Alexander    Review order and final judgment                                    0.50     $ 650.00   $   325.00
                                                                                                Sent copy of Court Judgment (ECF No. 41) to Opposing
                                                                              Carter Hastings                                                                               $ 450.00   $     45.00
                                                                    1/8/24                      Counsel                                                            0.10
                                                                              Carter Hastings   Telephonic Conference with Opposing Counsel re: Final                       $ 450.00   $   135.00
                                                                   1/8/24                       Judgment                                                            0.30
                                                                   1/9/24     Clif Alexander    Meet with CTH on case status and trial                              0.50    $ 650.00   $    325.00
                                                                   1/15/24    Lauren Braddy     Begin draft of Fee Motion                                           0.60    $ 550.00   $    330.00
                                                                   1/19/24    Lauren Braddy     Finalize draft of Fee Motion and prepare for filing                 3.90    $ 550.00   $ 2,145.00
                                                                                                                                                                   168.45              $ 85,232.50
